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U.S, COURTS

DEC
UNITED STATES DISTRICT COUR pind 9 4

STEPHEN Wiss lin
for the CLERK, DIST SNYON —
District of Idaho AHO

Nathanael Donald Lewis )
)
Plaintiff )

} Case No: 2:24-cv-00364, AKB
Vv. }
)
Antony L. Biinken, et al. }
)
Defendants )

PLAINTIFF/PETITIONER DEMAND FOR ENTRY OF DEFAULT
I. Defendants Have Exceeded the Deadline to Appear and to Answer the Complaint.

1. Pursuant to the Federal Rules of Civil Procedure, Rule 4(b), the Defendants United
States, Antony L. Blinken, Paul Peek, Steven A, Miller and Celeste F. were served the summons
to appear on August 26, 2024 (ECFs 3, 3-1, 4, 4-1, 4-2). The summons issued by the Court
were served with the Complaint on all 5 of the defendants. I also enclose ANOTHER certificate
of Service on the Court’s back page of Summons (Attachment 1). Nothing has changed. Dates of
service are the same. I just used the Court’s form now, and long before my own Certificate of
Service. With the complaint, exhibits and motion to compel, I served the summons on August
26, 2024 (ECFs, 5, 5-1, 5-2 and Affidavit attached herewith, pursuant to Local Rule 4.1).

2. Pursuant to Rule 12(a)(2), the Defendants in their official capacity had until October
25, 2024, to appear and to answer the complaint with its exhibits and my immediate emergency
motion to compel the issuance of my passport (ECFs 1, 1-1, 2). The summons form notified the
Defendants that not answering within the sixty-day time limit would make them subject to

default. They have not appeared, they have not answered, and they are in default.
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II. Defendants Have Exceeded the Deadline to Oppose the Immediate Emergency Motion
to Compel the Issuance of the Passport

3. I filed an Immediate Emergency Injunction Motion to Compe the issuance of my
passport. According to Federal Rules of Civil Procedure, Rule 65. The Defendants had 21 days
within which to respond to the motion pursuant to Local Rule 7.1.(c), which they have not done.
They waived contest to the allegation is the motion (ECF 2), to the allegations in the complaint
(ECF 1) and the supporting exhibits (ECF 1-1) that supported the motion, and contest to the
motion’s demand for relief.

iii. Demand for Relief

4, The allegations of my complaint, the factual basis and authenticity of my exhibits in
support, and the allegation of my motion to compel are conceded. The relief which I demanded
is not opposed. The facts and proof that I supplied to the Defendants are sufficient and
undisputed evidence to support my claim of United States citizenship, and eligibility for a United
States passport (ECFs 1, 1-1, and 2).

5. Therefore, pursuant to the powers granted to the district court by 8 U.S.C, § 1503,
Proceedings for Declaration of United States Nationality; 28 U.S.C. §§ 1361, Action to Compel
an Officer of the United States to Perform His Duty; 1651, Writs; 2201, Declaratory Judgment
Act, Creation of Remedy; and 2202, Further Relief; among others cited in the complaint, and
according to Rule 55, I respectfully demand that the court:

a. Order defendant Antony L. Blinken in his official capacity, or his subordinate Paul
Peek in his official capacity, to issue the regular passport for which I applied.

b. Make a finding of fact and conclusions of law that support the order based upon the
complaint, its exhibits, and the accompanying immediate emergency motion to compel.

c. Impose the cost of litigation upon the Defendants.
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d, Order Defendant United States, for Antony L. Blinken in his official capacity,
to pay One Thousand Dollars ($1000.00) to comply with the demand for relief in the Complaint
(ECF 1, p. 13, 937.).

IV. Alternative Motion for a Hearing

6. If there is anything more needed to authenticate the exhibits filed with the complaint
should the Defendants’ failure to contest the allegations not suffice, as an alternative to the above
demand, I move the court to schedule a hearing where I and my witnesses can attest to the
validity of the affidavits that are submitted to the court, to ensure that the material evidence
conforms to every iota of the rules of evidence. I request the hearing be conducted
electronically so that my witnesses who are aged can attend the hearing.

7. A proposed order is submitted but I request the district court judge to make whatever

order that would be most effectual and equitable.

Tina =— Mba t Seo

Nathanael Donald Lewis
Plaintiff, Propria Persona
966 Bourbon Lane
Nordman, Idaho 83848

